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          EXHIBIT 3
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   From:          Jim Gerber [/0=THEFACEBOOK/OU=EXCHANGE ADMINISTRATIVE GROUP
                  (FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=66FD6OAD7E1240D681330756D08951319B-JIMGERBER]
   Sent:          10/18/2020 9:52:25 PM
   To:             Marina Shilman [mshilman@fb.com]; Marc Shedroff[mshedroff@fb.com]
   CC:            David Jakubowicz [davidizek@fb.com]
   Subject:       Re: Prep for Apple meeting


   Thanks Marina.

   From: Marina Shilman <mshilman@fb.com>
   Sent: Sunday, October 18, 2020 8:37 PM
   To: Marc Shedroff <mshedroff@fb.com>; Jim Gerber <jimgerber@fb.com>
   Cc: David Jakubowicz <davidizek@fb.com>
   Subject: Re: Prep for Apple meeting

   Hi Marc, Jim

   Hope you had a nice weekend.

   To prep for this week's call with Apple, below is a list of things we want from Apple (and have been already asking them
   m ultiple times). The first two seem most relevant to Ron and his org

   1.

   2.




   3.

   4.



   5.




   Thanks,
   marina


   From: Marc Shedroff <mshedroff@fb.com>
   Date: Wednesday, October 14, 2020 at 8:46 AM
   To: Marina Shilman <mshilman@fb.com>, Jim Gerber <jimgerber@fb.com>
   Cc: David Jakubowicz <davidizek@fb.com>
   Subject: Re: Prep for Apple meeting

   [minus Robby and Katie]

   Ash replied in a later email that he will join the Ron meeting; I will join the internal prep.




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   @Marina Shilman can you compile a list of the things we want from Apple? You likely already have one, but it will be
   good to have handy.



   Thx
   Marc



   From: Marina Shilman <mshilman@fb.com>
   Date: Wednesday, October 14, 2020 at 8:35 AM
   To: Marc Shedroff <mshedroff@fb.com>, Jim Gerber <jimgerber@fb.com>, Katie McCabe
   <mccabek@fb.com>, Robby Stein <robby@fb.com>
   Cc: David Jakubowicz <davidizek@fb.com>
   Subject: Re: Prep for Apple meeting

   The meeting with Apple is next Wednesday, 10/21 at 10:30am. I'll add you to it Marc.
   Now that Ron is joining, we might want to use their high interest to our advantage.
   Let discuss in a prep meeting once scheduled.

   thanks,
   marina

   From: Marc Shedroff <mshedroff@fb.com>
   Sent: Wednesday, October 14, 2020 6:11 AM
   To: Jim Gerber <jimgerber@fb.com>; Katie McCabe <mccabek@fb.com>; Robby Stein <robby@fb.com>
   Cc: Marina Shilman <mshilman@fb.com>; David Jakubowicz <davidizek@fb.com>
   Subject: Re: Prep for Apple meeting

   Yes, I'd like to join too, if Ron is joining. When is the meeting, and what are we planning to say? Pls add me to
   the prep too. I also should flag to Ash. Will do that now.
   Marc

   From: Robby Stein <robby@fb.com>
   Sent: Tuesday, October 13, 2020 11:40:37 PM
   To: Jim Gerber <jimgerber@fb.com>; Katie McCabe <mccabek@fb.com>
   Cc: Marina Shilman <mshilman@fb.com>; David Jakubowicz <davidizek@fb.com>; Marc Shedroff <mshedroff@fb.com>
   Subject: Re: Prep for Apple meeting

   +Katie

   Glad to do a quick chat to prep. Talk soon



   From: Jim Gerber <jimgerber@fb.com>
   Sent: Tuesday, October 13, 2020 7:52 PM
   To: Robby Stein
   Cc: Marina Shilman; David Jakubowicz; Marc Shedroff
   Subject: Prep for Apple meeting

   Hello Robby,

   Thanks for the willingness to engage with Apple on their interest in IG and their updated Mac/iPad compatibility. It
   would be useful for us to synch briefly ahead of that meeting.



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   Can we find a few minutes to connect?

   Let me know and Adriana can find time prior to the meeting next Wednesday.

   Thanks,
   Jim




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